                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TENNESSEE

   LEWIS COSBY,                                  )
   ERIC MONTAGUE, and                            )
   MARTIN ZIESMAN, as Co-Trustee for             )
   the Carolyn K. Ziesman Revocable Trust,       )
   on behalf of themselves and                   )
   all others similarly situated,                )
                                                 )
                 Plaintiffs,                     )
                                                 )
   v.                                            )      No.:   3:16-CV-121-TAV-DCP
                                                 )
   KPMG, LLP,                                    )
                                                 )
                 Defendant.                      )


                                            ORDER

          Pursuant to Local Rule 68.3, the Court hereby REFERS this civil action to the

   Honorable Christopher H. Steger, United States Magistrate Judge, for a judicially-hosted

   settlement conference to be held within ninety (90) days of the entry of this Order. Judge

   Steger’s chambers will contact counsel for the parties to schedule the conference and any

   related matters.

          In light of the referral for a judicially-hosted settlement conference, this action is

   STAYED until the conclusion of the settlement conference.

          IT IS SO ORDERED.


                                      s/ Thomas A. Varlan
                                      UNITED STATES DISTRICT JUDGE




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